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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                                      X
 ONTARIO TEACHERS’ PENSION PLAN                       : CIVIL ACTION NO.
 BOARD, Individually and as Lead Plaintiff on         : 3:17-cv-00558-SRU
 behalf of all others similarly situated; and         :
 ANCHORAGE POLICE & FIRE RETIREMENT                   :
 SYSTEM, Individually and as Named Plaintiff on       :
 behalf of all similarly-situated bond purchasers,    :
                                                      :
       Plaintiffs,                                    :
                                                      :
       v.                                             :
                                                      :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.;                 : SEPTEMBER 23, 2019
 EREZ VIGODMAN; EYAL DESHEH; ALLAN                    :
 OBERMAN; SIGURDUR OLAFSSON;                          :
 DEBORAH GRIFFIN; MAUREEN CAVANAUGH                   :
 AND TEVA PHARMACEUTICAL FINANCE                      :
 NETHERLANDS III B.V.,                                :
                                                      :
        Defendants.                                   :
                                                      X


             [PROPOSED] ORDER GRANTING MOTION TO INTERVENE
            FOR LIMITED PURPOSE OF TOLLING STATUTE OF REPOSE

       WHEREAS the California State Teachers’ Retirement System (“CalSTRS”)

asserts it is a member of the putative class in this class action and thus has claims

against defendants that share common questions of law and/or fact with the claims

asserted in the Amended Consolidated Class Action Complaint (“Amended Complaint”)

[Docket No. 226]; and

       WHEREAS, on February 5, 2019, CALSTRS filed a motion to intervene for the

limited purpose of providing defendants notice of CalSTRS’ claims against them as

alleged in the Amended Complaint and thereby tolling the expiration of the statute of

repose (“Motion to Intervene for Limited Purpose”) [Docket No. 259]; and
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        WHEREAS, defendants opposed the Motion to Intervene for Limited Purpose on

February 26, 2019 [Docket No. 268]; and

        WHEREAS, CalSTRS filed a reply memorandum on March 12, 2019 [Docket No.

271];

IT IS HEREBY ORDERED THAT:

        (a) CalSTRS is permitted to intervene as a member of the putative plaintiff class

           in this action as of February 5, 2019 under Fed. R. Civ. P. 23(d)(1)(B)(iii) and

           24(b) for the limited purpose of preserving its claims against defendants as

           alleged in the Amended Complaint with respect to the expiration of the statute

           of repose; and

        (b) For all other purposes in this action, CalSTRS shall remain a passive member

           of the putative plaintiff class with all the associated rights and protections,

           including protection from being subject to discovery in this action.



                                           ________________
                                           Hon. Stefan R. Underhill
                                           Chief United States District Judge




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